937 F.2d 623
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.In re The DIS CORPORATION.andIn re Chet FLEMING.
    Nos. 91-1082, 91-1099.
    United States Court of Appeals, Federal Circuit.
    June 10, 1991.Suggestion for Rehearing In Banc Declined Sept. 10, 1991.
    
      PER CURIAM
      Before ARCHER, Circuit Judge, COWEN, Senior Circuit Judge, and MAYER, Circuit Judge:
    
    
      1
      AFFIRMED.  Fed.Cir.R. 36.
    
    